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 4
                            UNITED STATES DISTRICT COURT
 5
                                  DISTRICT OF NEVADA
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 7                                           ***
 8                                                 2:09-CR-0185 PMP-LRL
     UNITED STATES OF AMERICA,               )       2:09-CR-00362-PMP-LRL
 9                                           )       2:12-CV-00459-PMP
                     Plaintiff,              )       2:10-CV-00168-PMP
10                                           )       2:10-CV-01369-PMP
     vs.                                     )
11                                           )
     CARL VON BRADLEY,                       )               ORDER
12                                           )
                     Defendant.              )
13                                           )
14            Before the Court for consideration is Defendant Carl Von Bradley’s fully
15   briefed Motion Pursuant U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by
16   a Person in Federal Custody (Doc. #278) filed March 16, 2012. For the reasons set
17   forth in the Opposition (Doc. #290) filed by Plaintiff United States on July 9, 2012,
18   the Court finds Defendant Bradley’s Motion (Doc. #278) must be denied.
19            Specifically, Defendant Bradley contends his former counsel, Federal
20   Public Defender Rene Valladares, provided ineffective assistance by failing to
21   explain to him the implications of the enhancement provision for brandishing a
22   firearm during a bank robbery under United States Sentencing Guidelines §
23   2B3.1(b)(2)©. Alternatively, Bradley contends his entry of plea was not made
24   voluntarily and with an understanding of the consequences of the plea. It is
25   absolutely clear from the Affidavit of Bradley’s former counsel, Federal Public
26   Defender Rene Valladares, that Defendant Bradley’s arguments are meritless.
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 1   Nothing in the record before the Court suggests that Defendant’s entry of plea was
 2   either involuntary or made without a full understanding of the consequences of his
 3   plea. Additionally, the record devoid of evidence that his counsel provided
 4   ineffective assistance under the standards enunciated in Strickland v. Washington,
 5   466 U.S. 668 (1984).
 6            IT IS THEREFORE ORDERED that Defendant Carl Von Bradley’s
 7   Motion Under U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person
 8   in Federal Custody (Doc. #278) is DENIED.
 9             DATED: July 23, 2012.
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                                              PHILIP MM. PRO
12                                            United States District Judge
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